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8                               UNITED STATES BANKRUPTCY COURT

9                           NORTHERN DISTRICT OF CALIFORNIA

10   In re:                                            Case No. 10-44122 RLE

11   PATSY LOU WHALA,                                  Chapter 13
                            Debtor.
12                                                     MOTION TO AMEND DISCHARGE ORDER
     ________________________________/
13

14         Patsy Lou Whala, debtor herein, hereby applies to the Court for an

15   Order Amending the Order of Discharge in the above Chapter 13 case to

16   list the correct social security number. This application is made on the

17   grounds that on June 29, 2015, the Order Discharging Debtor After

18   Completion of Chapter 13 Plan was entered, which                   listed the debtor’s

19   social security number as ending in 6707. On July 7, 2015, Debtor filed

20   an Amended Statement of Social Security Number and an Amended Voluntary

21   Petition in order to list the correct social security number.

22   Dated: August 18, 2015                         /s/ Patrick L. Forte
                                                   PATRICK L. FORTE
23                                                 Attorney for Debtor

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